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                       12                                UNITED STATES DISTRICT COURT

                       13                              NORTHERN DISTRICT OF CALIFORNIA
                       14                                     SAN FRANCISCO DIVISION
                       15

                       16    K.W., a minor and through K.W.’s guardian,      Case No. 3:21-cv-00976-CRB
                             Jillian Williams, and JILLIAN WILLIAMS,
                       17    individually, on behalf of themselves and all   DEFENDANT EPIC GAMES, INC.’S
                             others similarly situated,                      NOTICE OF MOTION AND
                       18
                                                                             UNOPPOSED MOTION TO DISMISS
                       19                       Plaintiffs,                  ON GROUNDS OF MOOTNESS;
                                                                             MEMORANDUM OF POINTS AND
                       20           v.                                       AUTHORITIES IN SUPPORT

                       21    EPIC GAMES, INC.,                               Date:     May 20, 2022
                                                                             Time:     10:00 a.m.
                       22                       Defendant.                   Ctrm:     6 – 17th Floor
                       23                                                    Judge:    Hon. Charles R. Breyer

                       24                                                    Action Filed: February 8, 2021
                                                                             Trial Date:   None set
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                            EPIC GAMES , I NC.’S NOTICE OF M OTION AND
B IDDLE & REATH LLP                                                                         CASE NO. 3:21-CV-00976-CRB
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                        1             NOTICE OF MOTION AND MOTION – SUMMARY OF ARGUMENT

                        2   TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                        3          PLEASE TAKE NOTICE that on May 20, 2022 at 10:00 a.m., or as soon thereafter as the

                        4   matter may be heard, in Courtroom 6, 17th Floor of the above Court, located at 450 Golden Gate

                        5   Avenue, San Francisco, California, 94102, Defendant Epic Games, Inc. (“Epic Games”) will and

                        6   hereby does move without opposition for an order dismissing this case, with prejudice, as moot.

                        7          Plaintiffs K.W. and Jillian Williams are members of the nationwide class of Fortnite players

                        8   certified for settlement purposes in Zanca v. Epic Games, Inc., No. 21-CVS-534 (N.C. Super. Ct.).

                        9   The trial court in Zanca granted final approval to that settlement on November 18, 2021. Plaintiffs

                       10   and one other member of the Zanca class submitted a joint objection to the settlement and appealed

                       11   from the trial court’s order approving the settlement. On April 8, 2022, however, the objectors

                       12   withdrew their appeal. Accordingly, the Zanca settlement has become final. Because the release

                       13   of claims provided for by the Zanca settlement agreement extends to all the claims Plaintiffs have

                       14   pleaded or could plead in this case, the finality of the Zanca settlement has rendered this case moot.

                       15   Epic Games therefore seeks dismissal of the case, and Plaintiffs’ counsel have authorized Epic

                       16   Games to represent to the Court that the motion is unopposed.

                       17          The instant Motion is based on this Notice of Motion and Motion, the Memorandum of

                       18   Points and Authorities in support, the Declaration of Jeffrey S. Jacobson and exhibits thereto, as

                       19   well as all papers and pleadings on file herein, and such argument as properly may be presented at

                       20   a hearing (if necessary).

                       21    Dated: April 13, 2022                               FAEGRE DRINKER BIDDLE & REATH LLP
                       22

                       23
                                                                                 By: /s/ Jeffrey S. Jacobson
                       24                                                            Jeffrey S. Jacobson (pro hac vice)
                                                                                     Matthew J. Adler
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                                                                                 Attorneys for Defendant
                       26                                                        EPIC GAMES, INC.
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                        1                        MEMORANDUM OF POINTS AND AUTHORITIES
                        2                                           INTRODUCTION
                        3            Plaintiff K.W., a minor, and his mother Jillian Williams, assert several claims in this case

                        4   arising from K.W.’s having played Fortnite, a highly popular video game published by Epic Games,

                        5   and having made in-game purchases while playing. Among other things, Plaintiffs assert that

                        6   certain of Epic Games’ sales and marketing practices violated California consumer protection

                        7   statutes and that K.W., as a minor, should be able to “disaffirm” his purchases pursuant to California

                        8   Family Code § 6710 and therefore receive a full refund for those purchases. Plaintiffs filed this

                        9   case in February 2021, but the Court stayed the case on April 19, 2021, while the court in a parallel

                       10   matter, Zanca v. Epic Games, Inc., No. 21-CVS-534 (N.C. Super. Ct., Wake County) considered

                       11   the fairness of an earlier-proposed nationwide class action settlement which, if approved, would

                       12   moot Plaintiffs’ case. See Dkt. 36 at 1-2. The Court renewed that stay six times, most recently on

                       13   February 2, 2022. See Dkt. 38, 40, 42, 45, 49, 51.

                       14            The trial court in Zanca granted final approval to the settlement on November 18, 2021.

                       15   See Dkt. 47-1 (final approval order). As the parties advised the Court on February 1, 2022 (Dkt.

                       16   50), the lone group of objectors to the settlement—Plaintiffs and one other commonly-represented

                       17   member of the Zanca settlement class—timely filed an appeal from that final approval order. The

                       18   objectors/appellants, however, withdrew that appeal on April 8, 2022. See Declaration of Jeffrey

                       19   S. Jacobson (“Jacobson Decl.”) ¶ 2 & Ex. A (notice of withdrawal). Now that the appeal has been

                       20   dismissed by the only people who had standing to appeal, the Zanca settlement has become final.

                       21            The Zanca settlement class is defined by the trial court’s final approval order to include

                       22   “[a]ll persons in the United States who, at any time between July 1, 2015, and [February 25, 2021],

                       23   had a Fortnite or Rocket League account that they used to play either game on any device and in

                       24   any mode, and (a) exchanged in-game virtual currency for any in-game benefit, or (b) made a

                       25   purchase of virtual currency or other in-game benefit for use within Fortnite or Rocket League.1

                       26   See Dkt. 47-1 at 56. Plaintiffs are members of the Zanca settlement class. See Dkt. 1 (Complaint)

                       27   ¶¶ 43-44 (alleging that K.W. made in-game purchases while playing Fortnite in and after 2018).

                       28   1   Rocket League is another popular video game published by Epic Games.
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                        1   The Zanca settlement’s Effective Date occurred one business day after “the date of final dismissal

                        2   of any appeal.” Jacobson Decl. Ex. B (Settlement Agreement) at ¶ 1.11(iii). The settlement thus

                        3   became effective on April 11, 2022.

                        4           The definition of “Released Claims” in the Zanca Settlement Agreement includes “any and

                        5   all claims or causes of action of every kind and description . . . and any allegations of wrongdoing

                        6   . . . and any demands for legal, equitable, or administrative relief . . . that the Releasing Parties had

                        7   or have (including assigned claims and ‘Unknown Claims’ as defined herein) that have or could

                        8   have been asserted in the Action or in any other action or proceeding before any court, arbitrator,

                        9   tribunal, or administrative body. . . .” The definition “specifically extends to any allegation that,

                       10   during the Class Period, any of the Released Parties committed a breach of contract; violated any

                       11   state’s consumer fraud or deceptive trade practice laws or any similar federal law; violated federal

                       12   or any state’s gaming laws; or committed any other tort or common-law violation in connection

                       13   with the purchase or sale of virtual currency or any other in-game item, benefit, or enhancement

                       14   related to the play of Fortnite or Rocket League.” Jacobson Decl. Ex. B at ¶ 1.21.

                       15           Epic Games contends, and Plaintiffs do not dispute, that all the claims asserted in this action

                       16   are Released Claims as defined in the Zanca settlement. Because the Zanca settlement has become

                       17   final, and because Plaintiffs are members of the Zanca settlement class, they are bound by the

                       18   Settlement Agreement. Pursuant to that agreement, Plaintiffs “shall be deemed to have released,

                       19   and by operation of the Final Judgement shall have . . . released . . . all Released Claims against

                       20   [Epic Games].” Jacobson Decl. Ex. B at ¶ 3.1. Epic Games thus contends that this action should

                       21   be dismissed, with prejudice, as moot. Plaintiffs have authorized Epic Games to communicate to

                       22   the Court that they do not oppose this motion.

                       23                                                ARGUMENT
                       24           The Full Faith and Credit Act generally requires federal courts to afford the “judicial

                       25   proceedings” of any State “the same full faith and credit . . . as they have by law or usage in the

                       26   courts of such State” as determined by the rules of the State. 28 U.S.C. § 1738; see also Matsushita

                       27   Elec. Indus. Co. v. Epstein, 516 U.S. 367, 373 (1996). In assessing whether to afford a State judicial

                       28   proceeding full faith and credit, the Court “must look to state law in determining the preclusive
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                        1   effect of a state court judgment releasing such claims.” Hesse v. Sprint Corp., 595 F.3d 581, 587

                        2   (9th Cir. 2010) (applying Matsushita). The Full Faith and Credit Act remains applicable even

                        3   where “the judgment was the product of a class action and incorporated a settlement agreement

                        4   releasing claims within the exclusive jurisdiction of the federal courts.” Matsushita, 516 U.S. at

                        5   373. In other words, “a judgment entered in a class action, like any other judgment entered in a

                        6   state judicial proceeding, is presumptively entitled to full faith and credit under the express terms

                        7   of the Act.” Id. at 374.

                        8          The Zanca settlement approved by the state court system in North Carolina, where Epic

                        9   Games is headquartered, is entitled by law to full faith and credit in this Court. North Carolina law

                       10   comports with the general rule that a judgment entered on a settlement is entitled to full effect. See,

                       11   e.g., Ehrenhaus v. Baker, 717 S.E.2d 9, 23 (N.C. Ct. App. 2011) (explaining that by opting out of

                       12   a class action settlement a “class member avoids the preclusive effect of the settlement”) (emphasis

                       13   added). As such, under the Full Faith and Credit Act, the North Carolina judgment approving the

                       14   nationwide settlement in Zanca must be given the same effect in this Court as it would be given in

                       15   a North Carolina state court. See Matsushita, 516 U.S. at 373; see also Kremer v. Chem. Const.

                       16   Corp., 456 U.S. 461, 481 (1982) (“[S]tate proceedings need do no more than satisfy the minimum

                       17   procedural requirements of the Fourteenth Amendment’s Due Process Clause in order to qualify

                       18   for the full faith and credit guaranteed by federal law.”). Here, Plaintiffs’ claims were released

                       19   under the terms of the Zanca settlement. Jacobson Decl. Ex. B at ¶ 3.1. Accordingly, just as a

                       20   North Carolina state court would treat Plaintiffs’ claims as released, this Court must do the same.

                       21   Because Plaintiffs have released their claims by operation of the Zanca settlement, the case is moot.

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                        1                                            CONCLUSION

                        2          Based on the foregoing, Epic Games respectfully requests that the Court grant this

                        3   unopposed motion and dismiss Plaintiffs’ Complaint, with prejudice, as moot.

                        4    Dated: April 13, 2022                           FAEGRE DRINKER BIDDLE & REATH LLP
                        5
                                                                             By: /s/ Jeffrey S. Jacobson
                        6                                                        Jeffrey S. Jacobson (pro hac vice)
                        7                                                        Matthew J. Adler

                        8                                                    Attorneys for Defendant
                                                                             EPIC GAMES, INC.
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